                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No.       1:23-CV-01626-PAB-NRN

 McKinzie Rees

        Plaintiff,

 v.

 City of Edgewater, Chief John Mackey, in his individual capacity, Commander Mark
 Hamilton, in his individual capacity, Sergeant Jason Forsythe, in his individual capacity,
 Sergeant Brandon Challis, and City Manager Dan Maples, in his individual capacity.

        Defendants.


      UNOPPOSED MOTION FOR DISMISSAL OF INDIVIDUAL DEFENDANTS
          MACKEY, HAMILTON, FORSYTHE, CHALLIS, AND MAPLES


       Plaintiff, McKinzie Rees, by and through her attorney, Thomas J. Arckey, hereby moves

for an order of Dismissal of all claims against the Individual Defendants, which includes

Defendants Mackey, Hamilton, Forsythe, Challis, and Maples, pursuant to Fed. R. Civ. P. 41,

and in support states and alleges as follows:

       1. Plaintiff has conferred with counsel for the individual Defendants who have no

           opposition to this Motion.

       2. Plaintiff hereby voluntarily seeks dismissal, with prejudice, each party to pay his or

           her own costs and attorneys’ fees, of all claims which were pled or could have been

           pled by her against the Individual Defendants, Messrs. Mackey, Hamilton, Forsythe,

           Challis, and Maples.

DATED this 29th of day of May, 2024.




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                                                            /s/ Thomas J. Arckey
                                                            Thomas J. Arckey
                                                            Eric S. Steele
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                                                            Attorneys for Plaintiff




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of May, 2024, I electronically filed the foregoing
UNOPPOSED MOTION TO DISMISS INDIVIDUAL DEFENDANTS using the CM/ECF
system which will send notification of such filing to the following:

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